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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------ X
GERARD CAMPBELL,

                                   Plaintiff,
                                                                              JUDGMENT
                                                                              16-CV-7176 (ILG)(PK)
                          v.

DRINK DAILY GREENS, LLC,

                                    Defendant.
--------------------------------------------------------------------------X
        A Memorandum and Order of Honorable I. Leo Glasser, United States District Judge,

having been filed on September 4, 2018, granting Defendant’s motion to dismiss the Second

Amended Complaint; and dismissing this action with prejudice; it is

        ORDERED and ADJUDGED that Defendant’s motion to dismiss the Second Amended

Complaint is granted; and that this action is dismissed with prejudice.

Dated: Brooklyn, NY                                                           Douglas C. Palmer
September 5, 2018                                                             Clerk of Court


                                                                       By:    /s/Jalitza Poveda
                                                                              Deputy Clerk
